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              IN THE UNITED STATES BANKRUPTCY COURT
              FOR THE WESTERN DISTRICT OF OKLAHOMA

In Re                                 §
                                      §         Chapter 11
WHITE STAR PETROLEUM HOLDINGS,        §
LLC, et al.,                          §         Case No. 19-12521-JDL
                                      §
             Debtors.                 §         Jointly Administered
                                      §
                                      §
BAKER HUGHES OILFIELD                 §
OPERATIONS LLC; and                   §
MS DIRECTIONAL, LLC,                  §
                                      §
             PLAINTIFFS,              §
                                      §
V.                                    §         ADVERSARY NO. __________
                                      §
WHITE STAR PETROLEUM, LLC;            §
WHITE STAR PETROLEUM II, LLC;         §
MUFG UNION BANK NA;                   §
ENLINK OKLAHOMA GAS PROCESSING, LP; §
BLUE OX PARTNERS LLC;                 §
ONEOK FIELD SERVICES COMPANY, L.L.C.; §
ROSE ROCK MIDSTREAM FIELD             §
SERVICES, LLC;                        §
WILDBOAR ENERGY LLC;                  §
AG & OIL FIELD, LLC;                  §
CACTUS DRILLING COMPANY, LLC;         §
CASING EQUIPMENT SUPPLY, LLC;         §
GREAT PLAINS OILFIELD RENTAL, LLC;    §
H2 SERVICES, LLC;                     §
HALLIBURTON ENERGY SERVICES, INC.;    §
IMPAC EXPLORATION SERVICES, INC.;     §
INTEGRATED FLUID SYSTEMS, LLC;        §
JACKSON ELECTRICAL CONSTRUCTION,      §
LLC; JOURNEY OILFIELD EQUIPMENT, LLC; §
LEGACY OFS CONSTRUCTION, LLC;         §
LONGHORN ENERGY SERVICES, LLC;        §
MIDCON SOLUTIONS, LLC;                §
MONSTER SERVICES, LLC;                §
MUSTANG HEAVY HAUL, LLC;              §
NATIONAL OILWELL DHT, LP;             §
OIL STATES ENERGY SERVICES, LLC;      §
PAYZONE COMPLETION SERVICES, LLC;     §


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PUMP DOWN SOLUTIONS, LLC;                            §
PYRAMID TUBULAR PRODUCTS, LLC;                       §
RAM OILFIELD SERVICES, LLC;                          §
REDZONE COIL TUBING, LLC D/B/A                       §
NINE ENERGY SERVICE;                                 §
RESISTOL SERVICES, LLC;                              §
SHEBESTER-BECHTEL, INC.;                             §
SMITH INTERNATIONAL, INC.;                           §
THRU TUBING SOLUTIONS, INC.;                         §
TRES MANAGEMENT, INC.;                               §
ULTERRA DRILLING TECHNOLOGIES, LP;                   §
WESTERN WORKSTRINGS, LLC;                            §
WHITE’S WELDING, LLC;                                §
WHITE’S ENERGY SERVICES, LLC; and                    §
WILDCAT WELLHEAD SERVICES, LLC,                      §
                                                     §
               DEFENDANTS.                           §


 BAKER HUGHES OILFIELD OPERATIONS LLC AND MS DIRECTIONAL, LLC’S
  ORIGINAL COMPLAINT FOR (I) DECLARATORY JUDGMENT REGARDING
 AMOUNT, VALIDITY, PRIORITY, AND EXTENT OF LIENS (II) DECLARATORY
    JUDGMENT REGARDING STATUTORY TRUST FUNDS, AND (III) LIEN
 FORECLOSURE AGAINST NON-DEBTOR WORKING INTEREST OWNERS AND
                           FIRST PURCHASERS
            (Section 22/17N/21W Roger Mills County, Oklahoma)

       Baker Hughes Oilfield Operations LLC (“Baker Hughes”) and MS Directional, LLC (“MS

Directional” and collectively with Baker Hughes, “Plaintiffs”) file this Original Complaint against

White Star Petroleum, LLC (“WSP”); White Star Petroleum II, LLC (“WSP II”); MUFG Union

Bank NA (“MUFG”); EnLink Oklahoma Gas Processing, LP (“EnLink”); Blue Ox Partners, LLC

(“Blue Ox”); Oneok Field Services Company, L.L.C. (“Oneok”); Rose Rock Midstream Field

Services, LLC (“Rose Rock”); Wildboar Energy LLC (“Wildboar”); AG & Oil Field, LLC

(“AG”); Cactus Drilling Company, LLC (“Cactus”); Casing Equipment Supply, LLC (“Casing”);

Great Plains Oilfield Rental, LLC (“Great Plains”); H2 Services, LLC (“H2”); Halliburton Energy

Services, Inc. (“Halliburton”); Impac Exploration Services, Inc. (“Impac”); Integrated Fluid

Systems, LLC (“Integrated”); Jackson Electrical Construction, LLC (“Jackson”); Journey Oilfield



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Equipment, LLC (“Journey”); Legacy OFS Construction, LLC (“Legacy”); Longhorn Energy

Services, LLC (“Longhorn”); MidCon Solutions, LLC (“Midcon”); Monster Services, LLC

(“Monster”); Mustang Heavy Haul, LLC (“Mustang”); National Oilwell DHT, LP (“NOV”); Oil

States Energy Services, LLC (“Oil States”); Payzone Completion Services, LLC (“Payzone”);

Pump Down Solutions, LLC (“Pump Down”); Pyramid Tubular Products, LLC (“Pyramid”); Ram

Oilfield Services, LLC (“Ram”); RedZone Coil Tubing, LLC d/b/a Nine Energy Service

(“RedZone”); Resistol Services, LLC (“Resistol”); Shebester-Bechtel, Inc. (“Shebester”); Smith

International, Inc. (“Smith”); Thru Tubing Solutions, Inc. (“Thru”); Tres Management, Inc.

(“Tres”) Ulterra Drilling Technologies, LP (“Ulterra”); Western Workstrings, LLC (“Western”);

White’s Welding, LLC (“White Welding”); White’s Energy Services, LLC (“White Energy”); and

Wildcat Wellhead Services, LLC (“Wildcat”) as follows: 1

                                                    I.
                                                  Parties

                                                 Plaintiffs

        1.      Baker Hughes is a California limited liability company with its offices and principal

place of business in Houston, Harris County, Texas.

        2.      MS Directional is Texas limited liability company with its offices and principal

place of business in Conroe, Montgomery County, Texas.

                                               Defendants

        3.      WSP is a debtor in the above-captioned jointly administered chapter 11 cases. WSP

may be served through its attorneys of record (i) John D. Dale, GABLEGOTWALS, 1100 ONEOK



1
    AG, Cactus, Casing Equipment, Great Plains, H2, Halliburton, Impac, Integrated, Jackson, Journey, Legacy,
    Longhorn, MidCon, Monster, Mustang, NOV, Oil States, Payzone, Pump Down, Pyramid, Ram, RedZone,
    Resistol, Shebester, Smith, Thru, Tres, Ulterra, Western, White Welding, White Energy, and Wildcat are
    collectively the “Other M&M Lien Claimants.”


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Plaza, 100 West 5th Street, Tulsa, Oklahoma 74103-4217, (ii) Craig M. Regens,

GABLEGOTWALS, One Leadership Square, 211 North Robinson, Oklahoma City, Oklahoma

73102, and/or (iii) Andrew G. Dietderich, Brian D. Glueckstein, and/or Alexa J. Kranzley,

SULLIVAN & CROMWELL LLP, 125 Broad Street, New York, New York 10004.

       4.      WSP II is a debtor in the above-captioned jointly administered chapter 11 cases.

WSP may be served through its attorneys of record (i) John D. Dale, GABLEGOTWALS, 1100

ONEOK Plaza, 100 West 5th Street, Tulsa, Oklahoma 74103-4217, (ii) Craig M. Regens,

GABLEGOTWALS, One Leadership Square, 211 North Robinson, Oklahoma City, Oklahoma

73102, and/or (iii) Andrew G. Dietderich, Brian D. Glueckstein, and/or Alexa J. Kranzley,

SULLIVAN & CROMWELL LLP, 125 Broad Street, New York, New York 10004.

       5.      MUFG is the administrative and collateral agent for certain lenders (“Lenders”)

under a Revolving Credit Agreement, dated as of June 30, 2016 and as amended, by and between

Lenders, WSP, and White Star Petroleum II, LLC and may be served with process through its

registered agent, Carl A. Stutzman, at 500 N. Akard Street, Ste. #4200, Dallas, Texas 75201 and/or

its attorneys of record (i) Neal Tomlins, TOMLINS & PETERS, PLLC, Southern Hills Tower,

Ste. 305, 2431 East 61st Street, Tulsa, Oklahoma 74136, (ii) Daniel J. McGuire, WINSTON &

STRAWN LLP, 35 West Wacker Drive, Chicago, Illinois 6060, and/or (iii) Justin E. Rawlins,

WINSTON & STRAWN LLP, 333 South Grand Avenue, 38th Floor, Los Angeles, CA 90071.

       6.      EnLink is the lender under a Certain Term Loan Credit Agreement, dated May 9,

2018, by and between White Star Petroleum Holdings, LLC, WSP, and EnLink, and may be served

with process through its (i) registered agent, The Corporation Company at 1833 South Morgan

Road, Oklahoma City, OK 73128 and (ii) attorneys of record Lysbeth L. George, Law Office of

Liz George, PLLC, 1019 N. Council, Ste. 3, Blanchard, OK 73010 and/or Lyle R. Nelson and




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Wyatt D. Swinford, Elias, Books, Brown & Nelson, PC, Two Leadership Square, Ste. 1300, 211

N. Robinson Ave., Oklahoma City, OK 73102-6803.

       7.      Blue Ox is a Delaware limited liability company and may be served with process

by serving (i) its registered agent The Corporation Company, 1833 South Morgan Road, Oklahoma

City, OK 73128 and (ii) its attorney of record, Caroline C. Fuller, Fairfield and Woods, P.C., 1801

California, Suite 2600, Denver, CO 80201.

       8.      Oneok is an Oklahoma limited liability company and may be served with process

by serving its registered agent, National Registered Agents, Inc., 1833 South Morgan Road,

Oklahoma City, OK 73128.

       9.      Rose Rock is a Delaware limited liability company and may be served with process

by serving its registered agent The Corporation Company, 1833 S. Morgan Rd., Oklahoma City,

OK 73128.

       10.     Wildboar is an Oklahoma limited liability company and may be served with process

through its (i) registered agent, Jonathan Kraft, 5824 Irvine Drive, Edmond, OK 73025.

                           Other M&M Lien Claimant Defendants

       11.     AG is an Oklahoma limited liability company and may be served with process

through its (i) registered agent, Tom Fanning, 2716 Sweetbriar, Edmond, OK 73034 and (ii)

attorney of record, McAlister McAlister Baker & Nicklas, Attn.: Brandon Baker, Kirkpatrick Bank

Building, 15 E. 15th Street, Suite 200, P. O. Box 1569, Edmond, OK 73083-1569.

       12.     Cactus is an Oklahoma limited liability company and may be served with process

by serving its registered agent and attorney of record, Frederic Dorwart, Lawyers PLLC, 124 East

Fourth Street, Tulsa, OK 74103-5010.

       13.     Casing Equipment is an Oklahoma limited liability company and may be served




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with process through its (i) registered agent, J. Clay Christensen, 3401 NW 63rd Street, Suite 600,

Oklahoma City, OK 73116 and (ii) attorney of record, Jonathan M. Miles, Christensen Law Group,

PLLC, The Parkway Building, 3401 N. W. 63rd Street, Suite 600, Oklahoma City, OK 73116.

       14.     Great Plains is an Oklahoma corporation and may be served with process through

its (i) registered agent, Capitol Document Services, 1833 S. Morgan Rd., Oklahoma City, OK

73128 and (ii) attorney of record, Zachary S. McKay, Doré Law Group, P.C., 17171 Park Row,

Suite 160, Houston, Texas 77084.

       15.     H2 is an Oklahoma limited liability company and may be served with process

through its (i) registered agent William R. Cook II, 1900 NW Expressway, #1350, Oklahoma City,

OK 73118 and (ii) attorney of record Cecil W. Heaton, 2 East 11th, Suite 112, Edmond, OK 73034.

       16.     Halliburton is a Delaware corporation and may be served with process through its

(i) registered agent, Capitol Document Services, 1833 S. Morgan Rd., Oklahoma City, OK 73128

and (ii) attorney of record, Zachary S. McKay, Doré Law Group, P.C., 17171 Park Row, Suite

160, Houston, Texas 77084.

       17.     Impac is an Oklahoma corporation and may be served with process through its (i)

registered agent, Chris Craighead, Rt 5 Box 119, Weatherford, OK 73096 and (ii) attorney of

record, Stephen D. Beam, P.O. Box 31, Weatherford, OK 73096 and at 110 South Broadway,

Weatherford, OK 73096-4924.

       18.     Integrated is an Oklahoma limited liability company and may be served with

process through its (i) registered agent Robert D. McCutcheon, 1021 NW Grand Blvd., Oklahoma

City, OK 73118 and (ii) its attorney of record, Meredith W. Wolfe, The Rudnicki Firm, 6305

Waterford Blvd., Suite 325, Oklahoma City, OK 73118.

       19.     Jackson is an Oklahoma limited liability company and may be served with process




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through its (i) registered agent Garrett W. Jackson, 930255 S. 3320 Rd., Wellston, OK 74881 and

its attorney Michael A. Rubenstein, Rubenstein & Pitts, PLLC, 1503 East 19th Street, Edmond,

OK 73013.

         20.   Journey is an Oklahoma limited liability company and may be served with process

through its (i) registered agent John D. Robertson, 201 Robert S. Kerr Avenue, Suite 1600,

Oklahoma City, OK 73102 and (ii) attorney of record, Clayton D. Ketter, Phillips Murrah PC,

Corporate Tower 13th Floor, 101 North Robinson Avenue, Oklahoma City, OK 73102.

         21.   Legacy is an Oklahoma limited liability company and may be served with process

through its (i) registered agent, Phillip Sherman, 1245 Independence St., Lucien, OK 73757 and

(ii) attorney of record, Richard P. Propester, Crowe & Dunlevy, PC, 324 North Robinson, Suite

100, Oklahoma City, OK 73102.

         22.   Longhorn is an Oklahoma limited liability company and may be served with

process through its (i) registered agent, Jonathan Kifer, 616 E. Macy Ln., Stillwater, OK 74075

and (ii) attorney of record, William Bailey Cook III, 1312 Cradduck Rd., P.O. Box 1391, Ada, OK

74821.

         23.   Midcon is an Oklahoma limited liability company and may be served with process

through its (i) registered agent, Michael Chad Elerick, 1407 18th St., Woodward, OK 73801, and

(ii) attorney of record, Gary David Quinnett, Law Offices of Gary David Quinnett, PLLC, 2932

N.W. 122nd St., Suite A, Oklahoma City, OK 73120.

         24.   Monster is an Oklahoma limited liability company and may be served with process

through its registered agent, Bryan N. Evans, 211 N. Broadway, Edmond, OK 73034.

         25.   Mustang is a Delaware limited liability company authorized to do business in

Oklahoma and may be served with process through its (i) registered agent, Mark Cochran, 4500




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S. 129th Avenue #150, Tulsa, OK 74134 and (ii) attorney of record, Mark A. Craige, Crowe &

Dunlevy, 500 Kennedy Building, 321 South Boston Ave., Tulsa, OK 74103.

         26.   NOV is Delaware limited partnership authorized to do business in Oklahoma and

may be served with process through its (i) registered agent, The Corporation Company, 1833 S.

Morgan Rd., Oklahoma City, OK and (ii) attorneys of record, Steven W. Soule, Hall Estill

Hardwick Gable Golden & Nelson PC, 320 South Boston Avenue, Suite 200, Tulsa, OK 74103-

3706 and Brian A. Baker, Stacy & Baker, PC, 1010 Lamar Street, Suite 550, Houston, TX 77002.

         27.   Oil States is a Delaware limited liability company and may be served with process

through its (i) registered agent Capitol Corporate Services, Inc., 206 E. 9th St., Ste 1300, Austin,

TX 78701.

         28.   Payzone is a Delaware limited liability company and may be served with process

through its (i) registered agent, Kevin Wisner, 703 S. Western Rd., Stillwater, OK 74074 and (ii)

attorney of record, Richard Propester, Crowe & Dunlevy PC, 324 North Robinson, Suite 100,

Oklahoma City, OK 73102.

         29.   Pump Down is an Oklahoma limited liability company and may be served with

process through its (i) registered agent, Kelly Boatwright, 12108 S. Wentworth Place, Oklahoma

City, OK 73170 and (ii) attorney of record, Shawn D Fulkerson, Fulkerson and Fulkerson, PC,

10444 Greenbriar Place Suite A, Oklahoma City, OK 73159.

         30.   Pyramid is a Delaware limited liability company and may be served with process

through its Vice President of Finance, Ted Bigelow, 2 Northpoint Drive Suite 610, Houston, TX

77060.

         31.   Ram is an Oklahoma limited liability company and may be served with process

through its registered agent, Ram Oilfield Services, 5858 S. 129th E Ave., Tulsa, OK 74134.




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         32.   RedZone is a Texas limited liability company and may be served with process

through its registered agent, David Bradford, 4302 E. 116th Pl., Tulsa, OK 74137.

         33.   Resistol is an Oklahoma limited liability company and may be served with process

through its registered agent, Jarrod Murray, 1703 Venture, Elk City, OK 73644.

         34.   Shebester is an Oklahoma corporation and may be served with process through its

registered agent and attorney of record, Michael A. Bickford, Fuller, Tubb, Bickford & Krahl,

PLLC, 201 Robert S. Kerr Ave., Suite 1000, Oklahoma City, OK 73102.

         35.   Smith is a Delaware company authorized to do business in Oklahoma and may be

served with process through its (i) registered agent, Capital Document Services, Inc., 1833 S.

Morgan Rd., Oklahoma City, OK 73128 and (ii) attorney of record, Zachary McKay, Dore

Rothberg McKay, P.C., 17171 Park Row, Suite 160, Houston, TX 77084.

         36.   Thru is a Delaware corporation and may be served with process through its

registered agent, Corporation Service Company, 10300 Greenbriar Place, Oklahoma City, OK

73159.

         37.   Tres is an Oklahoma corporation and may be served with process through its (i)

registered agent, Stan Dobler, 7011 N. Robinson, Oklahoma City, OK 73116 and (ii) attorney of

record K.D. Lackey, Jr., Attorney at Law, 6 NE 63rd Street, Suite 275, Oklahoma City, OK 73105-

1409.

         38.   Ulterra is a Texas limited partnership authorized to do business in Oklahoma and

may be served with process through its registered agent, The Corporation Company, 1833 S.

Morgan Rd., Oklahoma City, OK 73128.

         39.   Western is an inactive Oklahoma limited liability company and may be served with

process through its attorney of record, Cody Hodgden, Hodgden Law Firm, PO Box 529,




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Woodward, OK 73802.

        40.     White Welding is an Oklahoma limited liability company and may be served with

process through its (i) registered agent, Kevin Wisner, 703 S. Western Rd., Stillwater, OK 74074

and (ii) attorney of record, Richard Propester, Crowe & Dunlevy PC, 324 North Robinson, Suite

100, Oklahoma City, OK 73102.

        41.     White Energy is a Delaware limited liability company and may be served with

process through its registered agent, Kevin Wisner, 703 S. Western Rd., Stillwater, OK 74074.

        42.     Wildcat is a Texas limited liability company and may be served with process

through its registered agent, Secretary of State, 2300 N. Lincoln Blvd., Suite 101, Oklahoma City,

OK 73105.

                                                    II.
                                          Jurisdiction & Venue

        43.     This adversary proceeding arises in and relates to the above-captioned chapter 11

case now pending in this Court. This Court has jurisdiction over this adversary proceeding

pursuant to 28 U.S.C. § 1334. This is a core proceeding under 28 U.S.C. § 157(b). This Court has

jurisdiction to grant the relief sought herein under the Federal Declaratory Judgment Act, 28

U.S.C. § 2201, et seq. Venue is proper under 28 U.S.C. § 1409.

                                                  III.
                                            Background Facts

        44.     WSP, WSP II, Wildboar, and Blue Ox 2 own operating and/or working interests in

certain oil and gas leases located within Section 22, Township 17 North, Range 21 West of Roger

Mills County, Oklahoma (the “Subject Leases”). The Subject Leases are operated as a single unit

pursuant to Spacing Order No. 208237 issued by the Oklahoma Corporation Commission (the


2
    Collectively, WSP, WSP II, Wildboar, and Blue Ox are the “Mineral Interest Owners.”



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“Subject Unit”).

         45.      Baker Hughes Lien.            Baker Hughes furnished goods, materials, supplies,

machinery, equipment and labor under contract with WSP in connection with oil and gas

operations conducted on the Subject Unit for which Baker Hughes has not been paid (the “Baker

Hughes Materials and Services”). Baker Hughes’ claim for the unpaid Baker Hughes Materials

and Services is secured by a statutory mechanic’s and materialman’s liens under 42 O.S. § 144, et

seq., which can be summarized as follows:

               Wells                County           Lien        Date Lien       Recordation        Book/Page
                                                   Amount          Filed           Number
    Howard 22-17N-21W 1CH            Roger        $60,341.49     6/25/2019      I-2019-001356        2421/242
                                     Mills

(the “Baker Hughes Lien”). 3

         46.      MS Directional Lien.          MS Directional furnished goods, materials, supplies,

machinery, equipment and labor under contract with WSP in connection with oil and gas

operations conducted on the Subject Unit for which MS Directional has not been paid (the “MS

Directional Materials and Services”). MS Directional’s claim for the unpaid MS Directional

Materials and Services is secured by a statutory mechanic’s and materialman’s liens under 42 O.S.

§ 144, et. seq., which can be summarized as follows:

               Wells                County          Lien         Date Lien       Recordation        Book/Page
                                                  Amount           Filed           Number
    Howard 22-17N-21W 1CH            Roger       $255,707.00     6/24/2019      I-2019-001354        2421/209
                                     Mills

(the “MS Directional Lien”). 4


3
     Baker Hughes perfected the Baker Hughes Lien by filing a copy of the Statement and Affidavit in Support of
     Lien on Oil and Gas Property attached hereto as Exhibit 1 in the real property records of Roger Mills County,
     Oklahoma (the “Baker Hughes Lien Affidavit”).
4
     MS Directional perfected the MS Directional Lien by filing a copy of the Statement and Affidavit in Support of
     Lien on Mineral Property attached hereto as Exhibit 2 in the real property records of Roger Mills County,
     Oklahoma (the “MS Directional Lien Affidavit”).


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        47.     The Baker Hughes and MS Directional Liens (collectively, the “Plaintiffs’ Liens”)

incept and relate back to the commencement of the furnishing of labor and/or materials at the

Subject Unit. See 42 O.S. § 144. Under applicable Oklahoma law, where multiple leases are

operated as a unit, statutory liens under 42 O.S. § 144, et seq. extend to and encumber the totality

of the acreage of each lease included (in whole or in part) in the applicable unit. See 42 O.S. §

144; In re George Rodman, Inc., 38 B.R. 822 (Bankr. W.D. Okla. 1984). The Plaintiffs’ Liens are

therefore secured by, inter alia, the Mineral Interest Owners’ interests in the following property as

it relates to the Subject Unit:

        •       the whole of the land or leasehold interest;

        •       any oil pipeline or gas pipeline;

        •       any lease for oil and gas purposes;

        •       buildings and appurtenances;

        •       the proceeds from the sale of oil or gas produced therefrom inuring to the working
                interest, exempting, however, any valid, bona fide reservations of oil or gas
                payments or overriding royalty interests executed in good faith and payable out of
                such working interest;

        •       materials or supplies furnished;

        •       oil well supplies, tools and other articles used in digging, drilling, torpedoing,
                operating, completing, or repairing any oil or gas well; and

        •       the oil or gas wells for which Plaintiffs furnished materials or services and all of
                the other oil wells, gas wells, fixtures, appliances, buildings, and appurtenances
                used in operating for oil, gas, and other minerals upon the leasehold and any other
                property provided for under Oklahoma law.

See id. (the “M&M Collateral”).

        48.     Upon information and belief, Oneok and Rose Rock purchase hydrocarbons

produced from the Subject Unit and remit the proceeds from such sales to the Mineral Interest

Owners. The Baker Hughes Lien against the proceeds of the oil and/or gas produced from the


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Subject Unit became effective against Oneok and Rose Rock on or about August 23, 2019 when

Baker Hughes delivered copies of the Baker Hughes Lien Affidavit to Oneok and Rose Rock via

certified mail. See Oneok Notice Letter, attached as Exhibit 3 and Rose Rock Notice Letter,

attached as Exhibit 4; see also 42 O.S. § 144.1.

          49.   MUFG Liens.     WSP, WSP II, and MUFG are allegedly parties to a certain

Revolving Credit Agreement, dated as of June 30, 2016, as amended. MUFG asserts that under

the Revolving Credit Agreement and associated mortgages and other documents executed in

connection therewith (collectively the “MUFG Mortgage Documents”), MUFG holds valid,

perfected, enforceable first-priority liens and security interests on all assets and property of WSP

and WSP II, including oil and gas leasehold interests, working interests, and associated property

rights.

          50.   EnLink Liens.    White Star Petroleum Holdings LLC, WSP, and EnLink are

allegedly parties to a certain Term Loan Credit Agreement, dated as of May 9, 2018, as amended.

EnLink asserts that under the Term Loan Credit Agreement and associated mortgages and other

documents executed in connection therewith (collectively the “EnLink Mortgage Documents”),

EnLink holds valid, perfected, enforceable liens and security interests on certain property of WSP

and WSP II, including oil and gas leasehold interests, working interests, and associated property

rights.

          51.   Other M&M Lien Claimants. Upon information and belief, the Other M&M Lien

Claimants also assert statutory mechanic’s and materialman’s liens against WSP’s, WSP II’s, Wild

Boar’s, and Blue Ox’s interests in the M&M Collateral.

          52.   Bankruptcy. On May 24, 2019, Baker Hughes, Mustang Heavy Haul, LLC,

Latshaw Drilling Company, LLC, MS Directional LLC, and Cactus Drilling Company, LLC filed




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an involuntary petition against WSP under chapter 11 of the United States Bankruptcy Code in

this Court. On May 28, 2019, WSP, WSP II, White Star Petroleum Holdings, LLC, White Star

Petroleum Operating, LLC, and WSP Finance Corporation (collectively the “Debtors”) filed

voluntary bankruptcy petitions under chapter 11 of the United States Bankruptcy Code in the

United States Bankruptcy Court for the District of Delaware. On June 20, 2019, this Court entered

its Order Transferring Venue, which transferred Debtors’ voluntary cases to this Court. See Dkt.

No. 67 in Case No. 19-12521. On July 3, 2019, the Court entered the Stipulation and Agreed

Order (i) for Relief in Involuntary Case and (ii) Consolidating Voluntary Case with Involuntary

Case, which, inter alia, constituted entry of the order for relief in WSP’s involuntary case and

consolidated WSP’s involuntary case with its voluntary case. See Dkt. No. 190 in Case No. 19-

12145. Debtors’ individual bankruptcy cases are jointly administered under Case No. 19-12521.

See Dkt. No. 27.

       53.     Cash Collateral Order and Challenge Rights. Under Debtors’ final cash collateral

order, Debtors stipulate that the MUFG Liens are first priority liens encumbering substantially all

of Debtors’ property interests. Dkt. No. 328 in Case No. 19-12521. The final cash collateral order

also provides that nothing therein “shall prejudice the rights of any party-in-interest … to challenge

the validity, priority, enforceability, seniority, avoidability, perfection or extent of any such liens

and/or security interests.” Id.

                                                IV.
                                              Summary

       54.     The purpose of this adversary proceeding is to:

       •       establish that Plaintiffs’ Liens are valid, perfected, and enforceable against the
               Mineral Interest Owners’ interests in the M&M Collateral;

       •       establish the relative priority of Plaintiffs’ Liens vis-à-vis MUFG, EnLink, and the




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                 Other M&M Lien Claimants 5,

        •        obtain a declaratory judgment, under 42. O.S. § 144.2, that WSP is a trustee of all
                 funds it receives under contracts related to operations on the Subject Unit, that such
                 funds are trust funds to be held for the benefit of all holders of valid liens against
                 the M&M Collateral under 42 O.S. § 144, et seq. (i.e. not estate property), and that
                 WSP is obligated to use such trust funds to pay all such valid lien claims; and

        •        foreclose on Plaintiffs’ Liens against M&M Collateral owned by non-debtors
                 Wildboar and Blue Ox.

Adjudication of these matters will establish issues necessary to any subsequent motion filed under

FED. R. BANKR. P. 3012 seeking a determination of (i) the value of WSP’s and WSP II’s interests

in the relevant oil and gas property and (ii) the secured amount of Plaintiffs’ and Other M&M Lien

Claimants’ claims in WSP’s and WSP II’s bankruptcy cases.

                                                   V.
                                             Causes of Action

                                      COUNT 1
    Declaratory Judgment Regarding Amount, Validity, Perfection, and Enforceability of
                                   Plaintiffs’ Liens

        55.      The allegations in Count 1 are directed against all Defendants.

        56.      Plaintiffs incorporate by reference all paragraphs above.

        57.      This claim for relief arises under the Federal Declaratory Judgment Act, 28 U.S.C.

§ 2201 and Bankruptcy Rule 7001(2) and (9).

        58.      Principal Amounts Owed Baker Hughes. Baker Hughes provided the contracted-

for Baker Hughes Materials and Services to WSP at the Subject Unit as set forth in the Baker

Hughes Lien Affidavit. The principal amount of the Baker Hughes Lien claim is $60,341.49 (the

“Baker Hughes Principal Amount”). Said amount is due and owning. All just and lawful offsets,



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    42 O.S. § 173 requires Plaintiffs to include the Other M&M Lien Claimants as parties to this adversary
    proceeding. See 42 O.S. § 173 (“In such actions all persons whose liens are filed as herein provided shall be
    made parties ….”).


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payments, and credits, if any, have been made and allowed. The above stated amount charged for

the Baker Hughes Materials and Services are, and were at the time and place of performance,

reasonable and were agreed upon by Baker Hughes and WSP prior to and/or at the time the labor

and materials were furnished.

       59.      Principal Amounts Owed MS Directional. MS Directional provided the contracted-

for MS Directional Materials and Services to WSP at the Subject Unit as set forth in the MS

Directional Lien Affidavit. The principal amount of the MS Directional Lien claim is $255,707.00

(the “MS Directional Principal Amount”). Said amount is due and owning. All just and lawful

offsets, payments, and credits, if any, have been made and allowed. The above stated amount

charged for the MS Directional Materials and Services are, and were at the time and place of

performance, reasonable and were agreed upon by MS Directional and WSP prior to and/or at the

time the labor and materials were furnished.

       60.      Perfection of Baker Hughes Lien. Baker Hughes caused the Baker Hughes Lien

Affidavit to be filed in the office of the Roger Mills County Clerk within one hundred eighty (180)

days of the date Baker Hughes last provided the Baker Hughes Materials and Services to the

Subject Unit. See 42 O.S. § 146. The Baker Hughes Lien Affidavit complies with all requirements

of 42 O.S. § 144, et seq. Accordingly, the Baker Hughes Lien attaches to and encumbers the M&M

Collateral and secures the Baker Hughes Principal Amount, plus interest thereon and attorneys’

fees. See 42 O.S. § 176.

       61.      Perfection of MS Directional Lien. MS Directional caused the MS Directional Lien

Affidavit to be filed in the office of the Roger Mills County Clerk within one hundred eighty (180)

days of the date MS Directional last provided the MS Directional Materials and Services to the

Subject Unit.    See 42 O.S. § 146.     The MS Directional Lien Affidavit complies with all




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requirements of 42 O.S. § 144, et seq. Accordingly, the MS Directional Lien attaches to and

encumbers the M&M Collateral and secures the MS Directional Principal Amount, plus interest

thereon and attorneys’ fees. See 42 O.S. § 176.

       62.     Relief Sought With Respect to Count 1: Plaintiffs request that the Court issue

judgment:

       a.      declaring that WSP is indebted to Baker Hughes in the Baker Hughes Principal
               Amount for the Baker Hughes Materials and Services, plus interest at the contract
               rate and Baker Hughes’ reasonable attorneys’ fees;

       b.      declaring that WSP is indebted to MS Directional in the MS Directional Principal
               Amount for the MS Directional Materials and Services, plus interest at the contract
               rate and MS Directional’s reasonable attorneys’ fees;

       c.      establishing the Mineral Interest Owners’ respective ownership interests in the
               Subject Unit and M&M Collateral;

       d.      declaring that Plaintiffs’ Liens are valid, perfected, enforceable, and encumber
               Mineral Interest Owners’ interests in the M&M Collateral; and

       e.      awarding such other and further relief which Plaintiffs may be justly entitled to
               receive.

                                       COUNT 2
                Declaratory Judgment Regarding Priority of Plaintiffs’ Liens

       63.     The allegations contained in Count 2 are directed against WSP, MUFG, EnLink,

and Other M&M Lien Claimants.

       64.     Plaintiffs incorporate by reference all paragraphs above.

       65.     This claim for relief arises under the Federal Declaratory Judgment Act, 28 U.S.C.

§ 2201 and Bankruptcy Rule 7001(2) and (9).

       66.     Plaintiffs’ Liens have priority over “all other liens or encumbrances which may

attach to or upon said leasehold for gas and oil purposes and upon any oil or gas pipeline, or such

oil and gas wells and the material and machinery so furnished and the leasehold for oil and gas




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purposes and the fixtures and appliances thereon subsequent to the commencement” of the

materials and services Plaintiffs provided to WSP at the Subject Unit. 42 O.S. § 144; Appleby,

864 P.2d at 834.

       67.     MUFG and EnLink assert valid, perfected, enforceable liens and security interests

in the M&M Collateral that are senior to Plaintiffs’ Liens. The MUFG and EnLink Mortgage

Documents, however, fail to identify or adequately describe WSP and/or WSP II’s interests in the

Subject Unit. See Baker Hughes Oilfield Operations, Inc. v. Union Bank of Cal., N.A. (In re

Cornerstone E&P Co.), 435 B.R. 390, 409 (Bankr. N.D. Tex. 2010) (explaining that under

Oklahoma law a prior recorded mortgage does not provide constructive notice to “subsequent

purchasers or encumbrancers” unless such properties are “specifically listed” in the filed mortgage

documents).

       68.     The Other M&M Lien Claimants assert statutory mechanic’s and materialman’s

liens against the M&M Collateral under 42 O.S. § 144, et seq. The validity of the claims and liens

asserted by the Other M&M Lien Claimants must be resolved in order to determine the parties’

respective rights to the M&M Collateral. The validity of the claims and liens asserted by the Other

M&M Lien Claimants are at this time disputed.

       69.     Relief Sought With Respect to Count 2: Plaintiffs request that the Court issue

judgment:

       a.      declaring that MUFG does not have a valid, perfected, or enforceable lien against
               the Subject Unit with priority over Plaintiffs’ Liens;

       b.      declaring that EnLink does not have a valid, perfected, or enforceable lien against
               the Subject Unit with priority over Plaintiffs’ Liens;

       c.      adjudging that the claims and liens of any Other M&M Lien Claimant that fails to
               timely answer this Complaint are invalid and do not attach to or encumber the
               M&M Collateral and are discharged and removed;




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       d.      declaring the validity, priority, and amount of the claims and liens of any Other
               M&M Lien Claimant that timely appears and answers this Complaint;

       e.      awarding Plaintiffs’ reasonable attorneys’ fees incurred in connection with
               prosecution of this adversary proceeding pursuant to 42 O.S. § 176; and

       f.      awarding such other and further relief which Plaintiffs may be justly entitled to
               receive.

                                         COUNT 3
                         Declaratory Judgment Regarding Trust Funds

       70.     The allegations in Count 3 are directed against WSP.

       71.     Plaintiffs incorporate by reference all paragraphs above.

       72.     This claim for relief arises under the Federal Declaratory Judgment Act, 28 U.S.C.

§ 2201 and Bankruptcy Rule 7001(2) and (9).

       73.     42 O.S. § 144.2 provides that:

       A.       Except as provided by subsection D of this section, the amount payable under any
       oil and gas well drilling contract, reworking contract, operating agreement, or monies
       payable as a condition of participation in the drilling of an oil and gas well under the terms
       of a pooling order issued by the Oklahoma Corporation Commission shall, upon receipt by
       any oil and gas well operator, contractor or subcontractor, be held by such operator as trust
       funds for the payment of all lienable claims due and owing by such operator, contractor or
       subcontractor by reason of such drilling contract, reworking contract, operating agreement,
       or force pooling order.
       B.      The trust funds created under subsection A of this section shall be applied to the
       payment of said valid lienable claims and no portion thereof shall be used for any other
       purpose until all lienable claims due and owing or to become due and owing shall have
       been paid.
       C.      The existence of such trust funds shall not prohibit the filing or enforcement of any
       labor, mechanic or materialman’s lien against the affected real property by any lien
       claimant, nor shall the filing of such lien release the holder of such funds from the
       obligations created under this section.
       D.      The provisions of this section shall not be applicable or affect payments owed to
       royalty owners by the operator of an oil or gas well and shall not affect or alter the terms
       or provisions of Section 87.1 of Title 52 of the Oklahoma Statutes.

42 O.S. § 144.2. Accordingly, with the exception of monies owed to royalty owners, Plaintiffs are

trust beneficiaries of funds that WSP receives under “oil and gas well drilling contract[s],


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reworking contract[s], operating agreement[s], or monies payable as a condition of participation

in the drilling of an oil and gas well under the terms of a pooling order issued by the Oklahoma

Corporation Commission” for operations conducted at the Subject Unit until Plaintiffs’ Liens are

paid in full.

        74.     Relief Sought With Respect to Count 3: Plaintiffs request that the Court issue

judgment:

        a.      declaring that 42 O.S. § 144.2 creates a statutory trust (the “Trust”) of all funds that
                WSP receives under any “oil and gas well drilling contract, reworking contract,
                operating agreement, or monies payable as a condition of participation in the
                drilling of an oil and gas well under the terms of a pooling order issued by the
                Oklahoma Corporation Commission” for operations at the Subject Unit (the “Trust
                Funds”);

        b.      declaring that WSP is the statutory “Trustee” of the Trust Funds under 42 O.S. §
                144.2;

        c.      declaring that Plaintiffs and any Other M&M Lien Claimant with a valid, perfected,
                and enforceable lien under 42 O.S. § 144, et. seq. against the M&M Collateral are
                “Trust Beneficiaries” of the Trust Funds;

        d.      ordering Trustee to (i) account for all Trust Funds that have come into its possession
                from the earliest lien inception date of a valid, perfected, and enforceable lien under
                42 O.S. §144, et seq. and (ii) apply all Trust Funds to the payment of valid lienable
                claims [under 42 O.S. § 144, et seq.]” and not use any Trust Funds “for any other
                purpose until all lienable claims [under 42 O.S. § 144, et seq.]” have been paid in
                full; and

        e.      awarding such other and further relief which Plaintiffs may be justly entitled to
                receive.

                                             COUNT 4
                                          Lien Foreclosure

        75.     The allegations in Count 4 are directed against Wildboar and Blue Ox.

        76.     Plaintiffs incorporate by reference all paragraphs above.

        77.     Plaintiffs’ Liens attach to and encumber Wildboar’s and Blue Ox’s interests in the

M&M Collateral as well as the interests of any other persons who own interests in the Subject Unit



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but whose interests were not recorded in the real property records of Roger Mills County,

Oklahoma prior to Plaintiffs’ respective lien inception dates (the “Subject Non-Debtor M&M

Collateral”). Pursuant to, inter alia, 42 O.S. §§ 172 & 175, Plaintiffs are entitled to judgment

ordering the foreclosure of Plaintiffs’ Liens against the Subject Non-Debtor M&M Collateral and

the sale of same to the highest bidder, with the proceeds thereof to be applied against the principal

amounts owed Plaintiffs, plus interest and attorneys’ fees.

       78.     Relief Sought With Respect to Count 4: Plaintiffs request that the Court issue

judgment:

       a.      foreclosing on Plaintiffs’ Liens against the Subject Non-Debtor M&M Collateral;

       b.      directing the sheriff of Roger Mills County, Oklahoma to sell the Subject Non-
               Debtor M&M Collateral at a foreclosure sale to the highest bidder with the proceeds
               to be applied against the principal indebtedness, interest, and attorneys’ fees owed
               to Plaintiffs and any Other M&M Lien Claimant that the Court adjudges to hold a
               valid, perfected, and enforceable lien against the Subject Non-Debtor M&M
               Collateral;

       c.      authorizing Plaintiffs to credit bid at the foreclosure sale all or a portion of the
               indebtedness owed to them;

       d.      directing that the proceeds from the foreclosure sale be paid to Plaintiffs and any
               Other M&M Lien Claimant that the Court adjudges to hold a valid, perfected, and
               enforceable lien against the Subject Non-Debtor Collateral on a pro rata basis; and

       e.      such other and further relief which Plaintiffs may be justly entitled to receive.


                                            COUNT 5
                                         Lien Foreclosure
       79.     The allegations in Count 5 are directed against Oneok and Rose Rock.

       80.     Plaintiffs incorporate by reference all paragraphs above.

       81.     Upon information and belief, Oneok and Rose Rock purchase hydrocarbons

produced from the Subject Unit and remit proceeds to the Mineral Interest Owners. Baker Hughes’

Lien attaches to and encumbers proceeds obtained from the sale of hydrocarbons produced from


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the Subject Unit. See 42 O.S. § 144. Baker Hughes’ Lien became effective against Oneok and

Rose Rock when Baker Hughes delivered copies of its lien affidavit to Oneok and Rose Rock via

certified mail. See 42 O.S. § 144.1. Baker Hughes is entitled to judgment ordering foreclosure of

the Baker Hughes Lien against proceeds from the sale of hydrocarbons produced from the Subject

Unit that Oneok and Rose Rock owe and are attributable to Wildboar’s and Blue Ox’s interests in

the Subject Unit (the “Subject Proceeds”), with such proceeds to be applied against the principal

amount owed to Baker Hughes, plus interest and attorneys’ fees.

       82.     Relief Sought With Respect to Count 5: Baker Hughes requests that the Court issue

judgment:

       a.      foreclosing on the Baker Hughes Lien against the Subject Proceeds;

       b.      directing Oneok and Rose Rock to pay the Subject Proceeds to Baker Hughes until
               the principal indebtedness owed to Baker Hughes, plus interest and attorneys’ fees,
               has been paid in full; and

       c.      awarding such other and further relief which Baker Hughes may be justly entitled
               to receive.

                                             VI.
                                     Conditions Precedent

       83.     All conditions precedent have been performed or have occurred.

       84.     By filing this suit, Plaintiffs do not waive or release any rights, claims, causes of

action, or defenses, or make any election of remedies that they now have or may have, but

expressly reserve all such rights, claims, causes of action, and defenses, whether or not the same

have been asserted or may hereafter be asserted in this or any other proceeding.




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                                               PRAYER

        WHEREFORE, Baker Hughes Oilfield Operations LLC and MS Directional, LLC

respectfully request that the Court enter judgment in their favor and grant the relief requested herein

and for such other and further relief to which they may be entitled.

Dated: September 9, 2019                               Respectfully submitted,

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